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                         EXHIBIT C
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                  If you were sent notice of a data security event by California Pizza
                   Kitchen on or about November 15, 2021, you may be eligible for
                                benefits from a class action settlement.
                                Para una notificación en Español, visitar [WEB ADDRESS]

              A court authorized this Notice. This is not junk mail, an advertisement, or a lawyer solicitation.

       •      A settlement has been proposed in consolidated class action lawsuits against California Pizza
              Kitchen, Inc. (“CPK”) pertaining to the cyber-attack on certain systems within CPK’s computing
              environment, during which unauthorized third parties were able to access certain files containing
              the personal information of current and former employees (the “Data Security Incident”). The
              computer files affected by the Data Security Incident potentially accessed contained names and
              Social Security numbers for some individuals.

       •      The Consolidated Cases (In re California Pizza Kitchen Data Breach Litigation, Master File No.
              8:21-cv-01928-DOC-KES) claim CPK was responsible for the increased risk of identity theft
              stemming from the Data Security Incident and asserts claims including: (i) negligence; (ii)
              negligence per se; (iii) declaratory judgment; (iv) violation of the New York General Business Law;
              (v) violation of California’s Unfair Competition Law; (vi) violation of California’s Consumer
              Records Act; (vii) violation of California’s Consumer Privacy Act; (viii) breach of implied contract;
              (ix) breach of confidence; (x) bailment; and (xi) violation of state data breach statutes. The
              Consolidated Cases seek, among other things, payment for persons who were injured by the Data
              Security Incident. CPK denies all these claims.

       •      If you received notice of the Data Security Incident from CPK on or about November 15, 2021 you
              are a part of the class, and may be eligible for benefits.

       •      The Settlement provides $100 payments to California Sublcass members, payments to individuals
              who submit valid, documented claims for out-of-pocket expenses and charges that arose from the
              Data Security Incident, compensation for lost time, and credit monitoring.

       •      Your legal rights are affected regardless of whether you do or do not act. Read this notice carefully.

                         YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
           SUBMIT A CLAIM
                                       This is the only way you can receive payment or credit monitoring.
               FORM
                  EXCLUDE              You will not get any payment or credit monitoring from the Settlement,
              YOURSELF FROM            but you also will not release your claims against CPK. This is the only
              THE SETTLEMENT
                                       option that allows you to be part of any other lawsuit against CPK or
                                       related parties for the claims resolved by this Settlement.
               OBJECT TO THE           Write to the Court with reasons why you do not agree with the Settlement.
                SETTLEMENT

            GO TO THE FINAL            You may ask the Court for permission for you or your attorney to speak
           Approval HEARING            about your objection at the Final Approval Hearing.

                                       You will not get any credit monitoring or compensation from the Settlement
                 DO NOTHING
                                       and you will give up certain legal rights.

       •      These rights and options—and the deadlines to exercise them—are explained in this Notice. For
              complete details, view the Settlement Agreement at [WEBSITE] or call [TELEPHONE #].
       •      The Court in charge of this case still has to decide whether to grant final approval of the Settlement.
              Payments and credit monitoring will only be made after the Court grants final approval of the
              Settlement and after any appeals are resolved.
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                                                   BASIC INFORMATION

                   1. Why is this Notice being provided?
              The Court directed that this Notice be provided because you have a right to know about a
              proposed settlement that has been reached in this class action lawsuit and about all of your
              options before the Court decides whether to grant final approval of the Settlement. If the Court
              approves the Settlement, and after any objections or appeals are resolved, the Settlement
              Administrator appointed by the Court will distribute the payments and other relief that the
              Settlement allows. This Notice explains the lawsuit, the Settlement, your legal rights, what
              payments are available, who is eligible for them, and how to get them.
              The Court in charge of this case is the United States District Court for the Central District of
              California. The consolidated case is known as In re California Pizza Kitchen Data Breach
              Litigation, Master File No. 8:21-cv-01928-DOC-KES (the “Lawsuit”). The people who filed
              the Lawsuit are called Plaintiffs and the entity they sued, CPK, is called the Defendant.

                   2. What is this lawsuit about?
              The Lawsuit claims CPK was responsible for the increased risk of identity theft stemming from
              the Data Security Incident and asserts claims including: (i) negligence; (ii) negligence per se;
              (iii) declaratory judgment; (iv) violation of the New York General Business Law; (v) violation
              of California’s Unfair Competition Law; (vi) violation of California’s Consumer Records Act;
              (vii) violation of California’s Consumer Privacy Act; (viii) breach of implied contract; (ix)
              breach of confidence; (x) bailment; and (xi) violation of state data breach statutes. The Lawsuit
              seeks, among other things, payment for persons who were injured by the Data Security
              Incident.
              CPK has denied and continues to deny all of the claims made in the Lawsuit, as well as all
              charges of wrongdoing or liability against it.

                   3. What is a class action?
              In a class action, one or more people called Class Representatives (in this case, Kansas Gilleo,
              Sydney Rusen, Esteban Morales, Douglas Wallace, Brett Rigas, and Evencio Diaz) sued on behalf
              of people who have similar claims. Together, all these people are called a Class or Class
              members. One Court and one judge resolve the issues for all Class members, except for those
              who exclude themselves from the Settlement Class.

                   4. Why is there a Settlement?
              The Court did not decide in favor of the Plaintiffs or CPK. Instead, the Plaintiffs negotiated a
              settlement with CPK that allows both Plaintiffs and CPK to avoid the risks and costs of lengthy
              and uncertain litigation and the uncertainty of a trial and appeals. It also allows Settlement
              Class members to obtain benefits without further delay. The Class Representatives and their
              attorneys think the Settlement is best for all Settlement Class members. This Settlement does
              not mean that CPK did anything wrong.

                                        WHO IS INCLUDED IN THE SETTLEMENT?

                   5. How do I know if I am part of the Settlement?
              You are part of this Settlement as a Settlement Class Member if you received notice of the Data
              Security Incident announced by CPK on or about November 15, 2021.

                   6. Are there exceptions to being included in the Settlement?
              Yes. Specifically excluded from the Settlement Class are: (i) CPK’s officers and directors; (ii)
              any entity in which CPK has a controlling interest; and (iii) the affiliates, legal representatives,
              attorneys, successors, heirs, and assigns of CPK. Also excluded from the Settlement Class are
              members of the judiciary to whom this case is assigned, their families and members of their

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         staff.
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                          THE SETTLEMENT BENEFITS—WHAT YOU GET IF YOU QUALIFY

                   7. What does the Settlement provide?
              There are three types of claims-based remedies that are available: (1) ordinary out of pocket
              expense reimbursements, and compensation for lost time,; (2) extraordinary expense
              reimbursements for a victim of actual identity theft; and (3) credit monitoring. You may submit
              a claim for any of the above listed remedies. To claim each type of remedy, you must provide
              information and documentation with the Claim Form.
              The total amount of money paid by CPK for expense and time reimbursements is uncapped in
              the aggregate. What this means is that while individual payments have caps (see Question 8),
              there is no cap on how much CPK will pay to satisfy valid claims, and individuals’ claims will
              not be reduced pro rata.
              The Settlement will provide credit monitoring services to all valid claimants who enroll.
              Additionally, the Settlement provides a $100 California statutory damages award to residents
              of the State of California who submit valid claims.
              The Settlement also provides that CPK will maintain for a period of at least three (3) years
              certain security measures and enhancements it implemented in consultation with a
              cybersecurity consultant following the Data Security Incident (“Business Practice
              Commitments”). The costs of these Business Practice Commitments will be paid entirely by
              CPK and will not reduce the monetary relief the Settlement makes available to Settlement Class
              members.

                   8. What Settlement benefits are available?
              Ordinary Expense and Time Reimbursements: Qualified Class Members are eligible to claim
              reimbursement of up to $1,000 per person for their documented out-of-pocket expenses and
              compensation for time spent resulting from the Data Security Incident, including:

                      •   Out of pocket expenses, such bank fees (including but not limited to card
                          replacement and over-limit fees, and interest on short-term loans), long distance
                          phone charges, cell phone charges (if charged by the minute), data charges (if
                          charged based on data used), postage, or gasoline for local travel;

                      •   Out of pocket expenses incurred for credit reports, credit freezes, credit
                          monitoring, or other identity theft insurance products purchased between
                          September 15, 2021 and [END OF CLAIMS PERIOD]; and

                      •   Up to 3 hours of lost time, at $20/hour, if at least one full hour was spent dealing
                          with the Data Breach.
              Extraordinary Expense Reimbursements: Qualified Class members who suffered actual
              identity theft are eligible to claim reimbursement of up to $5,000 per person for their
              extraordinary documented out-of-pocket losses if the loss (1) was more likely than not caused
              by the Data Security Incident; (2) occurred between September 15, 2021 and [END OF
              CLAIMS PERIOD]; and (3) the loss is not already covered and the claimant made reasonable
              efforts to mitigate the loss.
              $100 California Statutory Claim Benefit: In addition to the above benefits, the California
              Settlement Subclass members will also be eligible for a separate, California statutory damages
              award. $100 will be awarded to California Settlement Subclass members (those Settlement
              Class members who reside in California or resided in California when they received notification
              from CPK of the Data Security Incident) who submit a claim. This additional amount can be
              combined with a claim for reimbursement for lost time, with reimbursement for out-of-pocket
              losses, and (if applicable) with reimbursement for extraordinary losses, and shall be subject to
              the $1,000 cap on compensation for ordinary losses and lost time.
              Credit Monitoring: Settlement Class members are each individually eligible to receive 24

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         months of 3 bureau credit monitoring to Settlement Class members who enroll. This service will
              have substantially the same scope as identity monitoring services previously offered by CPK in
              its data breach notification letters.

                                HOW TO GET BENEFITS—SUBMITTING A CLAIM FORM

                   9. How do I get benefits from the Settlement?
              To ask for a payment or credit monitoring, you must complete and submit a Claim Form. Claim
              Forms are available at [WEBSITE] or you may request one be sent to you by mail by calling
              [TELEPHONE#]. Read the instructions carefully, fill out the Claim Form, and submit it through
              the Settlement Website no later than [DATE] or mail it postmarked no later than [DATE] to:

                                                 CPK Settlement Administrator
                                                   c/o [ADMINISTRATOR]
                                               [ADMINISTRATOR ADDRESS]
                                               [ADMINISTRATOR ADDRESS]

                   10. How will claims be decided?
              The Settlement Administrator will initially decide whether the information provided on a Claim
              Form is complete and valid. The Settlement Administrator may require additional information
              from any Settlement Class member who submits a Claim Form. If the required information is
              not timely provided, the claim will be considered invalid and will not be paid, and credit
              monitoring will not be provided. Class Counsel and Counsel for CPK will be able to review
              the claims.
              Should a Settlement Class member wish to dispute the decision on their claim, there is a
              process to do so, involving submission of the dispute to the Claims Referee. A more detailed
              description of this process is included in Section 7(d) of the Settlement Agreement. The
              Settlement Agreement is available at [WEBSITE].

                   11. When will I get my payment?
              The Court will hold a Final Approval Hearing at [TIME AND DATE AND LOCATION] to
              decide whether to approve the Settlement. If the Court approves the Settlement, there may be
              appeals. It is always uncertain whether any appeals can be resolved favorably, and resolving
              them can take time, perhaps more than a year. It also takes time for all Claim Forms to be
              processed, depending on the number of claims submitted. Please be patient.
                                           REMAINING IN THE SETTLEMENT

                   12. Do I need to do anything to remain in the Settlement?
              You do not need to do anything to remain in the Settlement, but if you would like to enroll in
              credit monitoring or be eligible to receive a payment you must submit a Claim Form postmarked
              by [DATE].

                   13. What am I giving up as part of the Settlement?

              If the Settlement becomes final, you will give up your right to sue CPK for the claims being
              resolved by this Settlement. The specific claims you are giving up against CPK are described
              in Section 9 of the Settlement Agreement. You will be “releasing” CPK and all related people
              or entities as described in Section 9 of the Settlement Agreement. The Settlement Agreement
              is available at [WEBSITE].
              The Settlement Agreement describes the released claims with specific descriptions, so read it
              carefully. If you have any questions about what this means you can talk to the law firms listed
              in Question 17 for free, or you can, of course, talk to your own lawyer at your own expense.



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                        EXCLUDING YOURSELF FROM THE SETTLEMENT

              If you do not want benefits from this Settlement, but you want to keep the right to sue CPK
              about issues in the Lawsuit, then you must take steps to get out of the Settlement Class. This
              is called excluding yourself from – or is sometimes referred to as “opting out” of – the

                  14. If I exclude myself, can I still get payment from the Settlement?
              Settlement Class.
              No. If you exclude yourself from the Settlement, you will not be entitled to any benefits of the
              Settlement, but you will also not be bound by any judgment in this case.

                   15. If I do not exclude myself, can I sue CPK for the same thing later?
              No. Unless you exclude yourself from the Settlement, you give up any right to sue CPK for
              the claims that this Settlement resolves. You must exclude yourself from the Settlement Class
              to start your own lawsuit or to be part of any different lawsuit relating to the claims in this
              case. If you exclude yourself, do not submit a Claim Form to ask for benefits.

                   16. How do I get out of the Settlement?
              To exclude yourself from the Settlement, you must send a letter by mail or email including your
              name, address, and phone number of the person seeking exclusion. Each request must also
              contain a signed statement to the following effect: “I request to be excluded from the Settlement
              Class in the CPK lawsuit.” You must mail your exclusion request postmarked no later than
              [DATE] to:

                                              CPK Settlement Administrator
                                                c/o [ADMINISTRATOR]
                                            [ADMINISTRATOR ADDRESS]
                                         [ADMINISTRATOR E-MAIL ADDRESS]


                                          THE LAWYERS REPRESENTING YOU

                   17. Do I have a lawyer in this case?

              Yes. The Court appointed Mason Barney of Siri & Glimstad LLP; David Lietz of Milberg
              Coleman Bryson Phillips Grossman, PLLC; Daniel O. Herrera of Cafferty Clobes Meriwether
              & Sprengel LLP; and Rachele R. Byrd of Wolf Haldenstein Adler Freeman & Herz LLP to
              represent you and other Settlement Class members. These lawyers are called Class Counsel.
              You will not be charged for these lawyers. If you want to be represented by your own lawyer,
              you may hire one at your own expense.

                   18. How will Class Counsel be paid?
              If the Settlement is approved and becomes final, Class Counsel will ask the Court to award
              combined attorneys’ fees and costs in the amount of $800,000. Class Counsel will also request
              approval of an incentive award of $2,000 for each Class Representative. If approved, these
              amounts, as well as the costs of notice and settlement administration, will be paid separately by
              CPK and will not reduce the amount of total payments available to Settlement Class members.
                                            OBJECTING TO THE SETTLEMENT
              You can tell the Court that you do not agree with the Settlement or some part of it.

                  19. How do I tell the Court that I do not like the Settlement?

              If you are a Settlement Class member, you can object to the Settlement if you do not like it or
              a portion of it. You can give reasons why you think the Court should not approve the Settlement.
              The Court will consider your views before making a decision. To object, you must file with
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         the Court and mail or email copies to Class Counsel and CPK’s Counsel a written notice stating
              that you object to the Settlement in In re California Pizza Kitchen Data Breach Litigation,
              Master File No. 8:21-cv-01928-DOC-KES.

              Your objection must include:
                    1)   the title of the case;
                    2)   your name, address, telephone number and email address;
                    3)   all legal and factual bases for your objection;
                    4)   copies of any documents that you want the Court to consider;
                    5)   the identity of the your attorney, if an; and
                    6)   if you or your attorney wish to appear at the Final Approval Hearing, say so and ideify
                         any documents or witnesses you intend to call on your behalf..
              Your objection must be filed with the Court, mailed or emailed to Class Counsel and CPK’s Counsel,
              postmarked or emailed no later than [DATE], at all of the addresses below.

                     CLASS COUNSEL                                                         CPK’S
                                                                                          COUNSEL


                        Rachele R. Byrd                                             Jon Kardassakis
                 WOLF HALDENSTEIN ADLER                                         LEWIS BRISBOIS LLP
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                  & SPRENGEL LLP
               135 S. LaSalle, Suite 3210
                 Chicago, Illinois 60603
               Telephone: (312) 782-4880
              dherrera@caffertyclobes.com


                  20. What is the difference between objecting to and excluding myself from the
                      Settlement?
              Objecting is telling the Court that you do not like something about the Settlement. Excluding
              yourself is telling the Court that you do not want to be part of the Class in this Settlement. If
              you exclude yourself from the Settlement, you have no basis to object or submit a Claim Form
              because the Settlement no longer affects you.

                                        THE COURT’S FINAL Approval HEARING
              The Court will hold a hearing to decide whether to approve the Settlement. You may attend and
              you may ask to speak, but you do not have to. You cannot speak at the hearing if you exclude
              yourself from the Settlement.

                  21. When and where will the Court decide whether to approve the Settlement?
              The Court will hold a Final Approval Hearing at [TIME AND DATE], in the United States
              District Court for the Central District of California, 411 West Fourth Street, Santa Ana, CA
              92701-4516, Courtroom 10A. At this hearing, the Court will consider whether the Settlement
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         is fair, reasonable, and adequate. The Court will take into consideration any properly filed
              written objections and may also listen to people who have asked to speak at the hearing (see
              Question 19). The Court will also decide whether to approve fees and costs to Class Counsel,
              and the service awards to the Class Representatives.



                   22. Do I need to appear at the Final Approval Hearing?

              No. Class Counsel will answer any questions the Court may have. However, you are welcome
              to attend at your own expense. If you file an objection, you do not have to come to Court to talk
              about it. You may also hire your own lawyer to attend, at your own expense, but you are not
              required to do so.

                  23. May I speak at the Final Approval Hearing?

              Yes, you may ask the Court for permission to speak at the Final Approval Hearing. To do so,
              you must follow the instructions provided in Question 19 above. You cannot speak at the
              hearing if you exclude yourself from the Settlement.
                                                   IF YOU DO NOTHING

                  24. What happens if I do nothing?
              If you do nothing, you will not receive any compensation or credit monitoring from this
              Settlement. If the Court approves the Settlement, you will be bound by the Settlement
              Agreement, including the release in the Settlement Agreement. This means you will not be able
              to start a lawsuit, continue with a lawsuit, or be part of any other lawsuit against CPK or related
              parties about the issues involved in the Lawsuit, resolved by this Settlement, and released by
              the Settlement Agreement.
                                             GETTING MORE INFORMATION

                  25. Are more details about the Settlement available?

              Yes. This Notice summarizes the proposed Settlement. More details are in the Settlement
              Agreement, which is available at [WEBSITE] or by writing to the CPK Settlement
              Administrator,    c/o    [SETTLEMENT          ADMINISTRATOR]           [SETTLEMENT
              ADMINISTRATOR ADDRESS].

                  26. How do I get more information?

              Go to [WEBSITE] or call [TELEPHONE#] or write to the CPK Settlement Administrator, c/o
              [SETTLEMENT ADMINISTRATOR] [SETTLEMENT ADMINISTRATOR ADDRESS].

                   Please do not call the Court or the Clerk of the Court for additional information.
                     They cannot answer any questions regarding the Settlement or the Lawsuit.




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